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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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     JENNY LISETTE FLORES; et al.,           Case No.: CV 85-4544-DMG (AGRx)
12
13           Plaintiffs,
                                             ORDER EXTENDING DEADLINE
14                                           TO COMPLETE COMPLIANCE
                  v.
15                                           WITH PARAGRAPH 1 OF THE
                                             COURT’S JUNE 26, 2020 ORDER
16   WILLIAM P. BARR, Attorney
                                             [850]
     General of the United States; et al.,
17
18           Defendants.
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 1         THIS CAUSE comes before the Court upon the Parties’ Stipulation to
 2   Extend Deadline to Complete Compliance With Paragraph 1 of the Court’s June
 3   26, 2020 Order.
 4         UPON CONSIDERATION of the Stipulation, and for the reasons set forth
 5
     therein, the Court hereby ORDERS that the deadline for Defendants to complete
 6
     compliance with Paragraph 1 of the Court’s June 26, 2020 Order is extended to and
 7
     including July 27, 2020.
 8
           All other deadlines remain unchanged.
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     IT IS SO ORDERED.
10
11   DATED: July 16, 2020
                                          DOLLY M. GEE
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                                          UNITED STATES DISTRICT JUDGE
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